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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

ADAM TEITELMAN
440 K St NW, Apt. 1203
Washington, DC 20001,

              Plaintiff,

       v.

QUEUEDR INC.
2612 Jefferson Drive
                                                              1:20-cv-1859
                                              Civil Action No. _________________
Alexandria, VA 22303

      SERVE: Patrick Randolph
             2612 Jefferson Drive
             Alexandria, VA 22303

and

PATRICK RANDOLPH
2612 Jefferson Drive
Alexandria, VA 22303

              Defendants.


                              NOTICE OF REMOVAL

                                      EXHIBIT A

                                       Complaint
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